     Case: 4:21-cv-00171-DMB-JMV Doc #: 74 Filed: 06/27/24 1 of 1 PageID #: 939




                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                             GREENVILLE DIVISION

CARMELLE JAMISON                                                                   PLAINTIFF

V.                                                               NO. 4:21-CV-171-DMB-JMV

HARBOR FREIGHT TOOLS INC.                                                        DEFENDANT


                                    FINAL JUDGMENT

       In accordance with the “Opinion and Order” entered this date, judgment is entered in favor

of Harbor Freight Tools, Inc.

       SO ORDERED, this 27th day of June, 2024.

                                                    /s/Debra M. Brown
                                                    UNITED STATES DISTRICT JUDGE
